 Case: 1:21-cv-04260 Document #: 64 Filed: 04/07/22 Page 1 of 1 PageID #:2260

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Converse Inc.
                                                            Plaintiff,
v.                                                                         Case No.:
                                                                           1:21−cv−04260
                                                                           Honorable Steven
                                                                           C. Seeger
The Partnerships and Unincorporated Associations
Identified on Schedule "A", et al.
                                                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 7, 2022:


        MINUTE entry before the Honorable Steven C. Seeger: Defendant Sell Costume's
motion to vacate the default and motion to dismiss (Dckt. No. [56]) is hereby denied.
Defendant points to the need for service under the Hague Convention, but this Court
already ruled that there was a sufficient basis for service by alternate means. Service under
the Hague Convention isn't a viable option when the address of the party is unknown, as
Article 1 of the Hague Convention makes clear. Service by publication and by email was a
sufficient means to give Defendant notice of the lawsuit. Defendant also moves to dismiss
based on a lack of personal jurisdiction. To the extent that the motion purports to be a
motion to dismiss, it is late, and defendant did not request or receive permission from the
Court for a later filing. So it is denied on that grounds, too. In any event, Plaintiff offered
a screen shot of Defendant's website, which provided a sufficient basis for personal
jurisdiction. (Dckt. No. [13]−3, at 227 of 382). Mailed notice(jjr, )




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